9/26/24, 4:00Case
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                                                      Haslam Law Firm LLC09/26/24
                                                                          Mail - Re: HudsonPage
                                                                                           v. Racer, 1  of 11 PageID #: 2262
                                                                                                     et al.



                                                                                               Tyler Haslam <tyler@haslamlawfirm.com>



  Re: Hudson v. Racer, et al.
  1 message

  Tyler Haslam <tyler@haslamlawfirm.com>                                                   Thu, Sep 26, 2024 at 1:05 PM
  To: "Stebbins, James C." <jstebbins@flahertylegal.com>
  Cc: Kerry Nessel <nessel@comcast.net>, "Wendy E. Greve" <wgreve@pffwv.com>, "Burdette, Danica N."
  <dburdette@flahertylegal.com>, Luke Mathis <lmathis538@gmail.com>, Charlotte Dorsey <charlotte@haslamlawfirm.com>,
  Ben Vanston <bvanston@pffwv.com>, Brittany Scott <bscott@pffwv.com>, Jayne Hudnall <jhudnall@pffwv.com>

    Jamie,

    While I can appreciate that you and he keep missing each other, I believe this actually underscores our point that written
    questions will take longer than appearing for a deposition. He may be in the academy, but I feel confident in stating that a
    federal lawsuit where he is a defendant far outweighs him going through training a second time.

    Thank you for clarifying that you still have not agreed to a second deposition and that you want to discuss a second
    deposition with him. Respectfully, the choice to sit for a second deposition is not his to make. It's yours. Admittedly I
    have not looked at the specific case law on the issue in the Fourth Circuit, but I have dealt with the issue in Ohio in the
    last six months, and Ohio is consistent about following the federal rules on these types of issues.

    At this point I feel that I need to approach the Court under Rule 30(a)(2)(A)(ii) given the looming deadlines for deposition
    and summary judgment.

    If you change your position in the next few hours before I get the motion filed, please let me know.

    Tyler

    On Thu, Sep 26, 2024 at 12:54 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

       Tyler:


       Mr. Racer and I missed each other when I was at lunch but he is going to try me back this afternoon I
       believe. I will let you know when I hear from him but this further underscores the difficulty of trying to
       conduct a second deposition while he is in training at the Academy.


       Meanwhile, I do not want to mislead you and I want to be clear that we have not agreed to voluntarily have
       him appear for a second deposition. Despite trying different ways of communication, I have simply not
       had the chance to revisit that with him since my initial denial of your request. I just wanted to make sure
       that there is no misunderstanding and that you appreciate that I am simply agreeing to discuss it further
       with him. I hope to accomplish that later today.


       No matter what we ultimately decide regarding a second deposition, I am still willing to have him answer
       some written questions even beyond any current deadline (assuming that the Court allows it) and I will get
       answers for you as promptly as I reasonably can rather than awaiting for the expiration of any timeframe
       provided by the rules. Answering written questions would take much less time than preparing for and
       appearing for a second deposition in the middle of this training so I hope that you will reconsider this
       option.


       Best,


https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r6427966805245858357&simpl=ms…   1/11
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           et al.
       Jamie




       James C. Stebbins
       Member




       Flaherty
       FLAHERTY SENSABAUGH BONASSO PLLC

       P.O. BOX 3843

       CHARLESTON, WV 25338

       OVERNIGHT:


       200 CAPITOL STREET

       CHARLESTON, WV 25301

       PHONE: 304.205.6388

       FAX: 304.345.0260




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       From: Tyler Haslam <tyler@haslamlawfirm.com>
       Sent: Thursday, September 26, 2024 7:17 AM
       To: Stebbins, James C. <jstebbins@flahertylegal.com>
       Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>; Burdette, Danica N.
       <dburdette@flahertylegal.com>; Luke Mathis <lmathis538@gmail.com>; Charlotte Dorsey
       <charlotte@haslamlawfirm.com>; Ben Vanston <bvanston@pffwv.com>; Brittany Scott
       <bscott@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
       Subject: Re: Hudson v. Racer, et al.




                                                          CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.


        Jamie,Did you speak with your client? We need to get this done.TylerOn Wed, Sep 25, 2024 at 10:31AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote: I have not heard from my client yet and am in another mediation today. I will try to reach out again to him once we ge ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




       Jamie,



       Did you speak with your client? We need to get this done.
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r6427966805245858357&simpl=ms…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2/11
9/26/24, 4:00Case
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                                                      Haslam Law Firm LLC09/26/24
                                                                          Mail - Re: HudsonPage
                                                                                           v. Racer, 3  of 11 PageID #: 2264
                                                                                                     et al.



       Tyler



       On Wed, Sep 25, 2024 at 10:31 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

          I have not heard from my client yet and am in another mediation today. I will try to reach out again to him once we
          get situated.



          Jamie

          Sent from my iPhone




                  On Sep 25, 2024, at 10:03 AM, Tyler Haslam <tyler@haslamlawfirm.com> wrote:

                  ﻿


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                  Jamie,



                  Do you have any updates?



                  Thanks.



                  Tyler



                  On Tue, Sep 24, 2024 at 11:07 AM Jayne Hudnall <jhudnall@pffwv.com> wrote:

                      Please copy Ben Vanston and Brittany Scott also, please.




                      From: Stebbins, James C. <jstebbins@flahertylegal.com>
                      Sent: Tuesday, September 24, 2024 10:43 AM
                      To: Tyler Haslam <tyler@haslamlawfirm.com>
                      Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>;
                      Jayne Hudnall <jhudnall@pffwv.com>; Burdette, Danica N.
                      <dburdette@flahertylegal.com>; Luke Mathis <lmathis538@gmail.com>; Charlotte
                      Dorsey <charlotte@haslamlawfirm.com>
                      Subject: [EXTERNAL] RE: Hudson v. Racer, et al.


                      Tyler:




https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r6427966805245858357&simpl=ms…   3/11
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                     I have reached out to my client to discuss the below but have not heard back from him
                     yet. I am in mediation today but gave him my cell phone so I am hoping he will call me
                     today. I will let you know when I hear from him.


                     Jamie



                     James C. Stebbins
                     Member




                     Flaherty
                     FLAHERTY SENSABAUGH BONASSO PLLC

                     P.O. BOX 3843

                     CHARLESTON, WV 25338

                     OVERNIGHT:

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                     PHONE: 304.205.6388

                     FAX: 304.345.0260



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                     From: Tyler Haslam <tyler@haslamlawfirm.com>
                     Sent: Friday, September 20, 2024 3:35 PM
                     To: Stebbins, James C. <jstebbins@flahertylegal.com>
                     Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>;
                     Jayne Hudnall <jhudnall@pffwv.com>; Burdette, Danica N.
                     <dburdette@flahertylegal.com>; Luke Mathis <lmathis538@gmail.com>; Charlotte
                     Dorsey <charlotte@haslamlawfirm.com>
                     Subject: Re: Hudson v. Racer, et al.




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                      Jamie,We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting. That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23. Had the internal affairs investigative file been produced prio ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                     Jamie,

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                                                      Haslam Law Firm LLC09/26/24
                                                                          Mail - Re: HudsonPage
                                                                                           v. Racer, 5  of 11 PageID #: 2266
                                                                                                     et al.



                     We agreed to a protective order and to use the Court's standard form during our Rule 26(f) meeting.
                     That's specifically noted in the Report of Parties Planning Meeting [Dkt. 17] that I filed on 11/27/23.
                     Had the internal affairs investigative file been produced prior to Racer's deposition, we would have
                     asked pointed questions about his orbital fracture and brain bleed. We had no reason to know that
                     the County was allowing Racer to work and to drive while medically compromised.



                     I appreciate the offer to answer written questions, but it will be faster and more effective (particularly
                     with the pending summary judgment deadline) to depose Racer a second time on the issues related
                     to his eye injury. By the time we send you questions and you meet with him and record his answers,
                     we can knock out a deposition. I don't anticipate that it will take more than an hour to an hour and
                     half. We have no problem driving to Dunbar and taking it at the police academy. I don't care to do it
                     at any hour of the night or day. If Racer can sit at 3 AM, I'll be there. I have the entirety of Tuesday,
                     Wednesday, Thursday, and Friday next week available.



                     Please let me know.



                     On Mon, Sep 16, 2024 at 8:46 AM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                        Tyler:


                        It is not my desire to bother the Court with this matter either. Respectfully, you could
                        have asked Mr. Racer about his orbital fracture when you deposed him the first time
                        and the right questions were not asked. I don’t think that you ever proposed a
                        protective order at any time.


                        Nevertheless, as a compromise, I will offer to permit a deposition of Mr. Racer by
                        written questions under Rule 31 or I will have my client answer interrogatories targeted
                        at the issue(s) you describe and I will do what I can to get answers promptly and not
                        take 30 days. Doing one of this things will allow you to get the discovery you want with
                        the least impact on his training.


                        Let me know if one of these options works for you.


                        Best,


                        Jamie



                        James C. Stebbins
                        Member




                        Flaherty
https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r6427966805245858357&simpl=ms…   5/11
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                        FLAHERTY SENSABAUGH BONASSO PLLC

                        P.O. BOX 3843

                        CHARLESTON, WV 25338

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                        CHARLESTON, WV 25301

                        PHONE: 304.205.6388

                        FAX: 304.345.0260



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                        From: Tyler Haslam <tyler@haslamlawfirm.com>
                        Sent: Friday, September 13, 2024 4:11 PM
                        To: Stebbins, James C. <jstebbins@flahertylegal.com>
                        Cc: Kerry Nessel <nessel@comcast.net>; Wendy E. Greve <wgreve@pffwv.com>;
                        Jayne Hudnall <jhudnall@pffwv.com>; Burdette, Danica N.
                        <dburdette@flahertylegal.com>
                        Subject: Re: Hudson v. Racer, et al.




                                                                            CAUTION: THIS EMAIL ORIGINATED FROM OUTSIDE THE ORGANIZATION.


                         Jamie,Racer can and should be deposed a second time, particularly as it relates to the newly discovered information about his orbital fracture and brain bleed.Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective orders promulgated by t ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




                        Jamie,



                        Racer can and should be deposed a second time, particularly as it relates to the newly discovered
                        information about his orbital fracture and brain bleed.



                        Further, we indicated at the Rule 26(f) conference that we were fine with all standard protective
                        orders promulgated by the Southern District.



                        We are trying to resolve this without court intervention, and we would like to avoid the
                        unnecessary cost and delay associated with trying to compel his deposition through the court.
                        Given the time constraints placed on depositions by order this week, we will ask the Court to
                        intervene Monday morning if this issue cannot be resolved amicably between now and then.



                        Tyler


https://mail.google.com/mail/u/0/?ik=c0c2d5b0ae&view=pt&search=all&permthid=thread-f:1809924636020587253%7Cmsg-a:r6427966805245858357&simpl=ms…                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              6/11
9/26/24, 4:00Case
              PM  3:23-cv-00636            Document 134-18       Filed
                                                      Haslam Law Firm LLC09/26/24
                                                                          Mail - Re: HudsonPage
                                                                                           v. Racer, 7  of 11 PageID #: 2268
                                                                                                     et al.
                        On Fri, Sep 13, 2024 at 4:00 PM Stebbins, James C. <jstebbins@flahertylegal.com> wrote:

                           Kerry:


                           I managed to talk to Mr. Racer today and he is not willing to be deposed voluntarily
                           a second time. He is not trying to be difficult but we think that the request is not fair
                           or reasonable for many reasons.


                           First of all, as you know, Mr. Racer was made available on July 2, 2024 starting at
                           9:00 in the morning and when Plaintiff decided to terminate his deposition at 2:15
                           p.m., that was not because of any request by Mr. Racer or his counsel to stop and
                           we would have made him available for the remainder of the afternoon if necessary.
                           We had no discussion at that time that there was any reason to leave the deposition
                           open.


                           Secondly, I do not think that it is fair to ask Mr. Racer to subject himself to another
                           deposition so that you can ask him questions about the KCSD investigation report.
                           You have known about the existence of that report since it was first disclosed by the
                           County Defendants in this case in their initial disclosures on July 2. 2024. The
                           disclosures by the County Defendants indicated that the report would be made
                           available to the other parties upon entry of a Protective Order and I do not believe
                           that Plaintiff ever submitted any proposed Protective Order to obtain those
                           documents prior to deciding to take Mr. Racer’s deposition.


                           I would also note that Mr. Haslam already asked Mr. Racer’s questions about that
                           investigation during his deposition.


                           I am also aware of case law holding that if a party chooses to prematurely take a
                           deposition before document discovery is complete, that is not an excuse for
                           subjecting a witness to a second deposition.


                           Third, the Rules clearly contemplate only 1 deposition per witness unless stipulated
                           by the parties.


                           Lastly, as you know, Mr. Racer is currently enrolled at the West Virginia State Police
                           Academy where he hopes to graduate on December 13, 2024. I understand that
                           this training is taxing both mentally and physically and I do not think that it is fair to
                           ask him to prepare for and undergo a deposition (especially a second deposition)
                           while he is in the middle of that training.


                           Based upon all of the above, I must respectfully decline your request. If you would
                           like to discuss this further, please give me a call.


                           Have a nice weekend everyone.



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9/26/24, 4:00Case
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                                                                                           v. Racer, 8  of 11 PageID #: 2269
                                                                                                     et al.
                           Best,


                           Jamie



                           James C. Stebbins
                           Member




                           Flaherty
                           FLAHERTY SENSABAUGH BONASSO PLLC

                           P.O. BOX 3843

                           CHARLESTON, WV 25338

                           OVERNIGHT:

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                           CHARLESTON, WV 25301

                           PHONE: 304.205.6388

                           FAX: 304.345.0260




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                           Sent: Thursday, September 12, 2024 12:41 PM
                           To: Stebbins, James C. <jstebbins@flahertylegal.com>
                           Cc: Wendy E. Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>;
                           tyler@haslamlawfirm.com; Burdette, Danica N. <dburdette@flahertylegal.com>
                           Subject: Re: Hudson v. Racer, et al.




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                           Thanks for thorough response.



                           Sent from my iPhone



                                   On Sep 12, 2024, at 12:10 PM, Stebbins, James C.
                                   <jstebbins@flahertylegal.com> wrote:


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                                                                          Mail - Re: HudsonPage
                                                                                           v. Racer, 9  of 11 PageID #: 2270
                                                                                                     et al.
                                   ﻿

                                   Hi Kerry:


                                   I need to look at some things regarding this request and am under a
                                   deadline in another matter today and I also want to try to reach out to
                                   my client about it. I will give you a full response tomorrow even if I am
                                   unable to reach him. I did not want you to think I was ignoring this
                                   request since you asked for an answer ASAP.


                                   Best,


                                   Jamie



                                   James C. Stebbins
                                   Member




                                   Flaherty
                                   FLAHERTY SENSABAUGH BONASSO PLLC

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                                   From: KERRY NESSEL <nessel@comcast.net>
                                   Sent: Wednesday, September 11, 2024 2:17 PM
                                   To: Stebbins, James C. <jstebbins@flahertylegal.com>; Wendy E.
                                   Greve <wgreve@pffwv.com>; Jayne Hudnall <jhudnall@pffwv.com>
                                   Cc: tyler@haslamlawfirm.com
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                                    Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to the 700 + page internal affairs investigation, specifically Lt. Pile's interview with Racer and her conclusions. As the Court entered and order yesterday extending the deposition deadline to Sept 27 a ‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌‌




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                                   Counsel, particularly Jamie, Tyler and I feel the need to redepose Racer due to
                                   the 700 + page internal affairs investigation, specifically Lt. Pile's interview with
                                   Racer and her conclusions.

                                   As the Court entered and order yesterday extending the deposition deadline to
                                   Sept 27 and the recent disclosure, we believe our request is reasonable.

                                   Please let me know ASAP.

                                   Additionally, considering Racer had been brutally battered by no less than 5 men
                                   at a bar and suffered significant physical injuries, including a brain bleed and
                                   broken orbital bone on his left side, we request his medical records concerning
                                   the same.

                                   Further, we are willing to travel to the WVSP academy to conduct this deposition.

                                   Finally, please provide us dates for your availability to depose Lt. Pile. I assume
                                   this will have to take place in Chas.

                                   Thanks.

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